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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF VIRGINIA
                         Newport News Division




UNITED STATES OF AMERICA

v.                                              ACTION NO. 4:05CR9

LISA LYNN BAIRD,

            Defendant.



                       REPORT AND RECOMMENDATION1
                       CONCERNING PLEA OF GUILTY


      The Defendant, by consent, has appeared before me pursuant to

Federal Rule of Criminal Procedure 11, and referral from a United

States District Judge and has entered a plea of guilty to Count 1

of the indictment.       After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowledgeable and voluntary,

and that the offense charged is supported by an independent basis

in   fact   establishing   each   of   the   essential   elements   of   such

offense. I therefore recommend that the plea of guilty be accepted

and that the Defendant be adjudged guilty and have sentence imposed

accordingly.


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     Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b)(1)(B).
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     I   further    certify    that       a   copy   of   this   Report   and

Recommendation was this day delivered to counsel for the United

States and for the defendant.

     DONE AND ENTERED at Norfolk, Virginia, this 21st day of April,

2005.



                                            /s/
                                   Tommy E. Miller
                                   United States Magistrate Judge

Norfolk, Virginia




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